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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 TARECE JOHNSON,                                             CIVIL ACTION
               Plaintiff,

                v.

 PERKIOMEN SCHOOL,                                           NO. 19-2241
               Defendant.

                                           ORDER

       AND NOW, this 8th day of January, 2020, it having been reported that the issues

between the parties in the above action have been settled and upon Order of the Court pursuant

to the provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of this Court, IT IS

ORDERED that the above action is DISMISSED WITH PREJUDICE, by agreement of

counsel, without costs.

                                                     BY THE COURT:

                                                     /s/ Hon. Jan E. DuBois

                                                        DuBOIS, JAN E., J.
